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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  3C, LLC d/b/a 3Chi, MIDWEST HEMP          )
  COUNCIL INC., and WALL’S ORGANICS LLC, )
                                            )                  No. 1:23-cv-1115-JRS-MKK
                          Plaintiffs,       )
                                            )
          v.                                )
                                            )
  ATTORNEY GENERAL TODD ROKITA, in his )
  official capacity, HUNTINGTON POLICE      )
  DEPARTMENT, DETECTIVE SERGEANT            )
  DARIUS HILLMAN, in his official capacity, )
  HUNTINGTON COUNTY PROSECUTOR              )
  JEREMY NIX, in his official capacity,     )
  EVANSVILLE POLICE DEPARTMENT,             )
  DETECTIVE SERGEANT NATHAN HASSLER, )
  in his official capacity, and VANDERBURGH )
  COUNTY PROSECUTOR DIANA MOERS, in         )
  her official capacity,                    )
                                            )
                          Defendants.       )

            STATE DEFENDANTS’ STATEMENT OF CLAIMS AND DEFENSES

         Defendants Attorney General Todd Rokita, Huntington County Prosecutor Jeremy Nix,

  and Vanderburgh County Prosecutor Diana Moers, in their official capacities (collectively, “State

  Defendants”), by counsel, in accordance with the Amended Case Management Plan, ECF No. 91,

  submit their statement of claims and defenses to be proven at trial.

                                                Claims

         State Defendants do not carry the burden of proof for any claims in this case.

                                               Defenses

         Sovereign immunity bars all of Plaintiffs’ state-law claims against state officials under

  Pennhurst State School & Hospital v. Halderman, 465 U.S. 89 (1984). A federal court may not

  decide state-law claims brought against state officials, including those state-law claims brought



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  under pendent jurisdiction. Id. at 121. Plaintiffs’ federal-law claims are likewise barred under

  sovereign immunity, as the State Defendants have “neither enforced nor threatened to enforce the

  allegedly unconstitutional” Official Opinion 2023-1 against Plaintiffs. Doe v. Holcomb, 883 F.3d

  971, 977 (7th Cir. 2018). Plaintiffs challenge only the Official Opinion as preempted under federal

  law. They do not allege that any state statute enforced by anyone is unconstitutional. No Defendant

  can or will “enforce[]” the Official Opinion because it is an advisory document with no

  independent force of law. Any prosecution of Plaintiffs would be brought under unchallenged state

  statutes. See, e.g., Ind. Code §§ 35-48-1-17.5, 35-48-4-11. The limited exception to sovereign

  immunity in Ex parte Young, 209 U.S. 123 (1908), permitting plaintiffs to proceed against state

  officials who “enforce [an] allegedly unconstitutional state statute,” Doe, 883 F.3d at 977,

  accordingly does not apply.

                                            Reservation of Rights

              The parties have not yet completed discovery, investigation, or preparation for trial. This

  statement is based on information currently known or reasonably available to State Defendants.

  State Defendants reserve the right to amend this statement or assert additional claims or defenses

  at trial.




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                                     Respectfully submitted,

                                     THEODORE E. ROKITA
                                     Attorney General of Indiana

  Date: June 14, 2024          By:   /s/ Katelyn E. Doering
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                                     Counsel for State Defendants




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